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11
                                       UNITED STATES DISTRICT COURT
12
                                     NORTHERN DISTRICT OF CALIFORNIA
13
                                                SAN JOSE DIVISION
14
     UNITED STATES OF AMERICA,                           ) CASE NO. 20-CR-00432 EJD
15                                                       )
             Plaintiff,                                  ) GOVERNMENT’S SECOND REVISED EXHIBIT
16      v.                                               ) LIST
                                                         )
17   OLE HOUGEN,                                         )
                                                         )
18           Defendant.                                  )
                                                         )
19                                                       )
20           At the trial of this case, the United States may offer the exhibits set forth on the attached list.
21 The government may revise this list as trial preparations continue.

22 DATED: March 26, 2021                                             Respectfully submitted,
23                                                                   STEPHANIE M. HINDS
24                                                                   Acting United States Attorney

25                                                                          /s/
                                                                     MARISSA HARRIS
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     SECOND REV. GOV. EXHIBIT LIST                      1
     20-CR-00432 EJD
              Case 5:20-cr-00432-EJD Document 123 Filed 03/26/21 Page 2 of 3




 1                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
 2
          Case No.:     20-CR-00432 EJD                Date: March 30, 2021
 3
                        United States of America v. Ole Hougen
 4
                                   GOVERNMENT’S EXHIBIT LIST
 5

 6

 7    EXHIBIT              DATE                STARTING
      NUMBER                                     BATES
 8                                              NUMBER
                   Marked for       Admitted                              DESCRIPTION
 9
                  Identification       in
10                                  Evidence
                                                           Image of intersection (San Lorenzo and
          1                                    USA-0000004 Broadway)
11
                                                           Image of intersection (San Lorenzo and
12        2                                    USA-0000005 Broadway)
                                               USA-0000006 Image of street (San Lorenzo)
13        3
                                               USA-0000007 Image of walking path
14        4
                                               USA-0000008 Image of walking path
15        5
                                               USA-0000012 911 call (W.C.)
16        6
                                               USA-0000013 911 call (C.N.)
17        7
                                               USA-0000317 Video clip of J. Garcia body worn camera
18        8                                                footage (44:14-45:30)
19                                             USA-0000323 Video clip of K. Bailey body worn camera
          9                                                footage (0:29-1:57)
20                                             USA-0000428 Image of S.B.
         10
21                                             USA-0000429 Image of S.B.
         11
22                                             USA-0000431 Image of S.B.’s sheath
         12
23                                             USA-0000436 Image of Ole Hougen’s knife
         13
24                                             USA-0000525 Certified conviction record from 2014
         14                                                Petaluma, CA case
25                                             USA-0000533 Certified conviction record from 2018
         15                                                Redding, CA case
26                                             USA-0000548 Certified conviction record from 2018
         16                                                Klickitat, WA case
27
                                               N/A         Knife recovered from Ole Hougen
         17
28
     SECOND REV. GOV. EXHIBIT LIST                 2
     20-CR-00432 EJD
              Case 5:20-cr-00432-EJD Document 123 Filed 03/26/21 Page 3 of 3




      EXHIBIT              DATE               STARTING
 1    NUMBER                                    BATES
                                               NUMBER
 2                 Marked for      Admitted                             DESCRIPTION
 3                Identification      in
                                   Evidence
 4                                            USA-0000058 Picture of Ole Hougen from July 5, 2020
         18
 5                                            USA-0000741 Picture of Eric Jordan from December 29,
         19                                               2018
 6                                            USA-0000742 Picture of Eric Jordan from December 29,
         20                                               2018
 7                                            USA-0000855 Satellite image of intersection of
         21                                               Broadway and San Lorenzo Boulevard
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     SECOND REV. GOV. EXHIBIT LIST                3
     20-CR-00432 EJD
